            Case 3:05-cr-05828-RBL         Document 34       Filed 07/06/06    Page 1 of 3



 1                                                                     Judge Franklin D. Burgess
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9

10   UNITED STATES OF AMERICA,                   )
                                                 )       NO. CR05-5828FDB
11                         Plaintiff,            )
                                                 )
12                 v.                            )       ORDER CONTINUING TRIAL
                                                 )
13   BRIANA WATERS,                              )
                                                 )
14                         Defendant.            )
                                                     )
15

16          The Court, having considered the Stipulated Motion to Continue Trial filed by the
17   parties and the record in this case, hereby enters the following Order:
18          WHEREAS, WATERS currently is charged with Conspiracy, in violation of
19   18 U.S.C. § 371; with Using an Unregistered Firearm, in violation of 26 U.S.C.
20   § 5861(d); with Arson, in violation of 18 U.S.C. § 844(I); and with Using a Destructive
21   Device During a Crime of Violence, in violation of 18 U.S.C. § 924©);
22          WHEREAS, this case is a factually-complicated case, which is based upon a
23   Second Superseding Indictment that charges WATERS with participating in a conspiracy
24   that stretched from 1996 to 2001 and was responsible for 25 different crimes, the majority
25   of them arsons;
26          WHEREAS, the Government currently is in the process of copying and producing
27   more than 27,000 pages of discovery materials to WATERS;
28

                                                                                    UNITED STATES ATTORNEY
                                                                                SEAFIRST FIFTH AVENUE PLAZA BUILDING
                                                                                    800 FIFTH AVENUE, SUITE 3600
     ORDER CONTINUING TRIAL/WATERS                                                   SEATTLE, WASHINGTON 98104
     (CR05-5828FDB) - 1                                                                     (206) 553-7970
            Case 3:05-cr-05828-RBL          Document 34       Filed 07/06/06     Page 2 of 3



 1          WHEREAS, WATERS has retained Robert Bloom of Oakland, California, to
 2   represent her, and Mr. Bloom will appear at trial as co-counsel, along with currently-
 3   appointed defense counsel Neil Fox;
 4          WHEREAS, Mr. Bloom is scheduled to commence an approximately three-month
 5   trial in Detroit, Michigan, beginning on October 12, 2006;
 6          WHEREAS, Defendant has filed a waiver of her right to speedy trial waiving that
 7   right through May 31, 2007; now, therefore,
 8          THE COURT FINDS that defense counsel will require additional time beyond the
 9   currently scheduled trial date in order to investigate adequately this case and to represent
10   effectively WATERS;
11          THE COURT FURTHER FINDS, that scheduling the trial in this case for a date
12   earlier than May 7, 2007, would not allow defense counsel adequate time in order to conduct
13   investigation and trial preparation;
14          THE COURT FURTHER FINDS, pursuant to 18 U.S.C. § 3161(h)(8)(A), that the
15   ends of justice served by continuing the trial in this case until May 7, 2007, outweigh the
16   interest of the public and of the Defendant in a more speedy trial; therefore,
17          IT IS HEREBY ORDERED that the trial in this case be continued until May 7,
18   2007, that pretrial motions in this case be due February 16, 2007, and that responses to
19   pretrial motions be due March 1, 2007;
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27

28

                                                                                          UNITED STATES ATTORNEY
                                                                                      SEAFIRST FIFTH AVENUE PLAZA BUILDING
                                                                                          800 FIFTH AVENUE, SUITE 3600
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     (CR05-5828FDB) - 2                                                                           (206) 553-7970
            Case 3:05-cr-05828-RBL       Document 34       Filed 07/06/06    Page 3 of 3



 1          IT IS FURTHER ORDERED that the time between the current trial date of August
 2   28, 2006, up to and including the new trial date of May 7, 2007, be excluded in computing
 3   the time within which the trial in this case muse commence pursuant to 18 U.S.C.
 4   § 3161(h)(8)(A).
 5          DONE this 5th day of July, 2006.
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10                                             FRANKLIN D. BURGESS
                                               UNITED STATES DISTRICT JUDGE
11   Presented by:
12
     JOHN McKAY
     United States Attorney
13
     /s/ Mark Bartlett
14   MARK BARTLETT
15
     First Assistant United States Attorney

16   /s/ Andrew C. Friedman
     ANDREW C. FRIEDMAN
17   Assistant United States Attorney
18
     United States Attorney’s Office
19   700 Stewart Street, Suite 5220
     Seattle, Washington 98101-3903
20   Telephone: (206) 553-7970
21   Fax:          (206) 553-0882
     E-mail:       Mark.Bartlett@usdoj.gov
22                 Andrew.Friedman@usdoj.gov
23
     /s/ Neil M. Fox
24   NEIL M. FOX
     Counsel for Briana Waters
25   Cohen & Iaria
     1008 Western Avenue
26
     Seattle, Washington 98104
27   Telephone: (253) 624-9694
     Fax:          206-624-9691
28   Email:        nmf@cohen-iaria.com

                                                                                   UNITED STATES ATTORNEY
                                                                               SEAFIRST FIFTH AVENUE PLAZA BUILDING
                                                                                   800 FIFTH AVENUE, SUITE 3600
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